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 7
 8                           UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 9

10
   SAGE HUMPHRIES, GINA MENICHINO,                    Case No. 2:21-cv-01412-ART-EJY
11 ROSEMARIE DeANGELO, DANIELLE
   GUTIERREZ, and JANE DOE 100, JULIET
12 DOHERTY, and JANE DOE 200
                                                        DEFENDANTS’ VERIFIED
13               Plaintiffs/Counterclaim-              THIRD PARTY COMPLAINT
                 Defendants,                             AND COUNTERCLAIM
14
15     v.

16 MITCHELL TAYLOR BUTTON and
   DUSTY BUTTON
17
             Defendants/
18           Counterclaim Plaintiffs /
19           Third Party Plaintiffs,

20          v.

21 MICHAEL S. HUMPHRIES, MICAH L.
   HUMPHRIES, ANTHONY GIOVANNI
22 DEANE, DARYL ALLAN KATZ, and
   CHASE FINLAY,
23
              Third Party Defendants.
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 1     DEFENDANTS’ VERIFIED THIRD PARTY COMPLAINT AND COUNTERCLAIM

 2          For their Third Party Complaint and Counterclaim1 against Counterclaim Defendants Sage

 3 Humphries, Gina Menichino, Rosemarie DeAngelo, Danielle Gutierrez, Jane Doe 100, Juliet
 4 Doherty, and Jane Doe 200 (collectively, “Counter Defendants”) and Third Party Defendants

 5 Michael S. Humphries, Micah L. Humphries, Anthony Giovanni Deane, Daryl Allan Katz, and
 6 Chase Finlay (collectively, “Third Party Defendants”), Counterclaim Plaintiffs Mitchell Taylor

 7 Button and Dusty Button (collectively, “Counterclaimants”) hereby allege as follows:
 8                                         INTRODUCTION
 9          For decades, Dusty Button’s reputation was beyond reproach as a world-renowned

10 ballerina, who, with her husband Mitchell Taylor Button, helped teach the art of ballet to thousands
11 of students from all backgrounds.
12          In an instant, however, someone with an agenda went on the attack, and the Buttons found
13 themselves facing outlandish accusations akin to the Satanic Panic. These accusations chiefly came

14 from the embittered or manipulated imagination of Counter Defendant Sage Humphries who, in
15 league with her abusive and manipulative parents, fabricated accounts of abuse and shopped them
16 to the press in order to gain her own spotlight of attention and false victimhood to further her

17 floundering dance career. Counter Defendant Humphries did so with the aid of Third Party
18 Defendants Michael and Micah L. Humphries, who carried a grudge against the Buttons for
19 unsuccessfully encouraging their daughter to break the pall of manipulation and abuse with which

20 they controlled Sage for years.
21          Counter Defendants Gina Menichino, Rosemarie DeAngelo, Danielle Gutierrez, Jane Doe

22 100, Juliet Doherty, and Jane Doe 200 soon followed suit, seeing an opening which would allow

23 them to extort money from the Buttons and to advance their careers by attaching their name to the
24
        1
25          Although a counterclaim is typically asserted in an answer, Fed. R. Civ. P. 13 allows a
   counterclaim to be asserted in any pleading. Here, Defendants are asserting a third party complaint,
26 which is recognized as a proper pleading under Fed. R. Civ. P. 7. Because Counterclaimants’
   Motion to Dismiss remains pending, this is filed as a separate pleading in the interest of reaching
27 a just, speedy, and inexpensive determination of this action. See Fed. R. Civ. P. 1.
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 1 #MeToo circuit. The difference is, these additions to the circuit are lying. Their stories are

 2 fabrications, and in some cases they are literally impossible, so long as the space-time continuum

 3 remains intact.
 4          The truth is much different story, and perhaps one that is less interesting to the sleazy

 5 tabloid press, which has printed every accusation verbatim – acting more as stenographers than
 6 reporters. Of course, the Counter Defendants banked on that happening. While most of the Counter

 7 Defendants had little to do with the Buttons, Sage Humphries was someone that Dusty and
 8 Mitchell knew very well. The Buttons met Sage after she asked them for advice in growing her
 9 social media presence, as she saw that they had been quite successful in that regard. Sage

10 eventually befriended the Buttons. Despite their attempts to support Sage and lead her to personal
11 and artistic fulfillment, Sage often charted her own course, making her own poor risky and drug-
12 addled decisions which are unsurprisingly absent from her complaint.
13          To the extent that Sage Humphries claims she was abused and sex trafficked, the Buttons

14 agree – however, this abuse and trafficking was not at their hands, but at the hands of a series of
15 older men. If Sage is truly the damaged flower she claims to be, the price should be paid – but it
16 should be paid by those who actually engaged in illegal acts with her.

17          For instance, Sage Humphries engaged in a romantic and sexual relationship with Third
18 Party Defendant Anthony Giovanni Deane while Sage was underage.
19          Billionaire Daryl Allan Katz paid Sage at least $75,000.00 for her sexual favors while she

20 remained underage. Humphries was literally a child prostitute to a billionaire, and her mother
21 assisted her in laundering the money she was paid and in trafficking her to Katz.

22          Chase Finlay was a fellow dancer whose engagement was broken off after his fiancé

23 learned he was involved in a romantic and sexual relationship with the then-underage Sage.
24          These names are surprisingly absent from Sage’ tale of abuse and harm, however, because

25 her true aim was never to tell the truth, or to rectify any perceived harm – it was, and is, to punish
26 the Buttons and push her agenda in front of any news camera that she can find. To the extent she

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 1 seeks compensation for any abuse, these Third Party Defendants should be held liable and should

 2 be compelled to contribute.

 3          The Buttons never assaulted anyone. They never “groomed” anyone. It is with deep regret
 4 that the Buttons file these counterclaims in order to clear their names and seek justice for the harm

 5 that they have suffered. And, to the extent that there was damage here, they seek contribution from
 6 the Third Party Defendants.

 7                                     JURISDICTION AND VENUE
 8          1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 because
 9 the amount in controversy exceeds $75,000, and there is complete diversity of citizenship between

10 the parties. This Court additionally possesses supplemental jurisdiction over Counterclaimants’
11 claims pursuant to 28 U.S.C. § 1367, as the Court has original jurisdiction over Counter
12 Defendants’ claims.
13          2.     Venue is proper in this district because Counterclaimants reside in this judicial

14 district and are already Defendants to this lawsuit. The Counter Defendants have consented to this
15 jurisdiction and venue.
16                                           THE PARTIES

17          3.     Counterclaimant Mitchell Button is an individual residing in Las Vegas, Nevada
18 and is a designer and builder of custom automobiles since 2010. Prior to that, Mitchell was a dance
19 instructor at a small studio. Mitchell is the husband of Defendant Dusty Button.

20          4.     Counterclaimant Dusty Button is an individual residing in Las Vegas, Nevada and
21 a renowned ballerina. Dusty is the wife of Defendant Mitchell Button.

22          5.     Upon information and belief, Counter Defendant Sage Humphries is an individual

23 residing in the Commonwealth of Massachusetts.
24          6.     Upon information and belief, Counter Defendant Gina Menichino is an individual

25 residing in the State of Florida.
26          7.     Upon information and belief, Counter Defendant Rosie DeAngelo is an individual

27 residing in New York, NY.
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 1          8.     Upon information and belief, Counter Defendant Danielle Gutierrez is an

 2 individual residing in the State of Florida.

 3          9.     Upon information and belief, Counter Defendant Jane Doe 100 is an individual
 4 residing in Bedford, New Hampshire.

 5          10.    Upon information and belief, Counter Defendant Juliet Doherty is an individual
 6 residing in New York.

 7          11.    Upon information and belief, Counter Defendant Jane Doe 200 is an individual
 8 residing in Tampa, Florida.
 9          12.    Upon information and belief, Third Party Defendant Michael S. Humphries is an

10 individual residing in Los Alamitos, California.
11          13.    Upon information and belief, Third Party Defendant Micah L. Humphries is an
12 individual residing in Los Alamitos, California.
13          14.    Upon information and belief, Third Party Defendant Anthony Giovanni Deane is

14 an individual residing in West Hollywood, California.
15          15.    Upon information and belief, Third Party Defendant Daryl Allan Katz is an
16 individual residing in Alberta, Canada.

17          16.    Upon information and belief, Third Party Defendant Chase Finlay is an individual
18 residing in Austin, Texas.
19                                    FACTUAL BACKGROUND

20          17.    Counterclaimant Dusty Button is one of the world’s preeminent ballet dancers who
21 trained at the Jacqueline Kennedy Onassis School at the American Ballet Theater in New York.

22          18.    In 2008, she joined the Royal Ballet School in London.

23          19.    However, Dusty is best known for her work with the Boston Ballet, which she
24 joined in 2012. One year later, in 2013, the Boston Ballet promoted her to soloist. In 2014, it

25 promoted her to principal.
26          20.    Counterclaimant Mitchell Button was a dance instructor from 2007 until 2010 when

27 he moved to London, England to be with Counterclaimant Dusty Button.
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 1          21.     The Buttons are very prominent figures within the dance community. Dusty had a

 2 significant social media presence with hundreds of thousands of Instagram followers and was

 3 signed by Red Bull as its first ballet-athlete. She has additionally been featured in mainstream
 4 publications, such as Glamour, and dance publications, such as Pointe Magazine, Dance Spirit

 5 Magazine, and Dance Informa.
 6          22.     In addition to his work designing and building custom automobiles, Mitchell helps

 7 Dusty manage her career.
 8          23.     Dusty’s success and prominence in the dance community has encouraged the filing
 9 of false claims against the Buttons, such as the ones detailed in this Counterclaim.

10          24.     The Buttons’ prominence and success in the ballet world has caused false claims to
11 be asserted against them, in particular, those in this lawsuit.
12          25.     The initial Complaint in this case was filed on July 28, 2021 in the U.S. District
13 Court for the District of Nevada and featured two Plaintiffs/Counter Defendants, Sage Humphries

14 and Gina Menichino, and only one Defendant/Counterclaimant, Mitchell Button.
15          26.     Sage danced with Dusty at The Boston Ballet, and Menichino trained with Mitchell
16 at Centerstage Dance Academy in Tampa, Florida.

17          27.     After being served with the Complaint, Mitchell filed a Motion to Dismiss with this
18 Court on September 9, 2021. Rather than respond to the Motion, these Plaintiffs/Counter
19 Defendants filed an Amended Complaint on September 23, 2021, adding Rosemarie DeAngelo,

20 Danielle Gutierrez, and Jane Doe 100 as Plaintiffs. The Amended Complaint additionally added
21 Dusty Button as a Defendant.

22          28.     DeAngelo and Gutierrez were trained by Mitchell at Centerstage Dance Academy.

23 Jane Doe 100 allegedly danced for Urbanity Dance, which rented space from the Boston Ballet,
24 where Dusty was a principal dancer.

25          29.     On December 13, 2021, Plaintiffs/Counter Defendants filed their Second Amended
26 Complaint, adding two new Plaintiffs to the Complaint, Juliet Doherty and Jane Doe 200. Mitchell

27 Button and Dusty Button were still the only named Defendants.
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 1          30.     Doherty danced at the Panama Ballet Festival at the same time Dusty danced at the

 2 festival as its main guest star, while Jane Doe 200 was allegedly trained by Mitchell at Centerstage

 3 Dance Academy.
 4          31.     All three iterations of the Complaint filed by Plaintiffs/Counter Defendants contain

 5 salacious and untrue allegations about Mitchell and Dusty Button, falsely accusing them of
 6 multiple sexual offenses against underage girls under their tutelage.

 7          32.     The false accusations made by each Plaintiff/Counter Defendant to this lawsuit are
 8 readily available in the Second Amended Complaint that they filed and need not be repeated here.
 9 These allegations were not made against the Buttons because they were true. In fact, the Buttons

10 never engaged in the conduct that Plaintiffs/Counter Defendants accuse them of committing, and
11 they never abused any of the students entrusted to them in any way.
12          33.     Rather, Plaintiffs/Counter Defendants filed this case for the specific purpose of
13 destroying the reputations of Dusty in the dance world and Mitchell in the car industry.

14          34.     Plaintiffs/Counter Defendants intended to, and have, utilized the media to assist
15 them in their desire to destroy Counterclaimants’ reputations. Thus far, prominent articles about
16 this Nevada federal case have appeared in, among other publications, the Boston Globe, the New

17 York Times, the Washington Post, CNN, Business Insider, and People Magazine.
18          35.     None of the so-called “reporters” writing about the case have approached these
19 fantastic tales with the slightest bit of skepticism. The Buttons have not spoken to the press.

20 Meanwhile, the Plaintiffs have made sure to dutifully feed their lies to the press in an effort to try
21 this matter in the press, rather than in a court of law.

22          36.     In fact, Plaintiffs informed the media of this lawsuit before Defendants were even

23 aware that they had been sued. Thus far, Counter Defendants’ false allegations against the Buttons
24 have had the desired effect. Their reputations in the dance world, and the world-at-large, have been

25 unjustly ruined. That was the intent and effect of their abuse of process.
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 1                                            Sage Humphries

 2          37.     The Buttons freely admit to having a sexual relationship with Sage Humphries.

 3 Specifically, the Buttons had a consensual sexual relationship with Plaintiff Sage Humphries after
 4 she had reached the age of majority – a sexual relationship that Sage Humphries initiated.

 5          38.     The Buttons admit that accepting the sexual overtures from Sage Humphries was
 6 an act of poor judgment, but this was not readily apparent at the time. Nevertheless, there is nothing

 7 illegal nor tortious about an adult woman propositioning the Buttons and the Buttons accepting
 8 her request to have sex with her.
 9          39.     Sage grew up with hyper-controlling conservative parents, Michael and Micah

10 Humphries. Sage therefore sought excitement in drug use and sexual promiscuity – something that
11 left her controlling parents perplexed and horrified.
12          40.     Michael and Micah Humphries sent Sage to Florida to dry out from her drug use
13 before she met the Buttons.

14          41.     After the Buttons met Sage Humphries, Sage’ parents insisted that their daughter
15 live with the Buttons in order to reduce their expenses.
16          42.     Sage told the Buttons that her parents relied upon the Buttons for financial stability.

17          43.     Moreover, Sage Humphries later told Dusty Button that Sage’ mother insisted that
18 her daughter befriend Dusty because Dusty was famous and had a large number of Instagram
19 followers. Sage’ mother additionally expressed how impressed she was with the Buttons’ home

20 when she visited it while her daughter was staying there.
21          44.     In hindsight, it was clear that Micah Humphries was “casing” the Buttons as a mark

22 for her next grift – a grifting pattern that had included trafficking her own daughter to a billionaire

23 (Katz) for financial gain.
24          45.     After Sage Humphries moved in with the Buttons, she almost immediately began

25 expressing her desire to have sexual relations with Mitchell and Dusty Button at the same time.
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 1          46.     On information and belief, Sage’s advances were made with the advice, consent,

 2 and prodding of at least her mother, who assisted Sage in laundering her prostitution fees paid to

 3 her by Mr. Katz.
 4          47.     The Buttons eventually acquiesced to Sage’s advances and began a consensual

 5 “throuple” sexual relationship with Sage Humphries after Sage moved in with them. Their
 6 relationship was loving and supportive. See, e.g., screenshots of video taken of Sage, Dusty, and

 7 Mitchell, attached as Exhibit 1; photos of Sage with the Buttons, attached as Exhibit 2; card
 8 written by Sage to Dusty, attached as Exhibit 3. In fact, this relationship came about only after
 9 Sage’s mother suggested that Sage move in with the Buttons to relieve Sage’s parents from the

10 obligation of paying for Sage’s rent.
11          48.     The relationship between Sage and the Buttons appeared, at the time, to be one of
12 mutual love, affection, and respect. Sage frequently expressed this love to the Buttons, telling them
13 that they were the “loves of [her] life,” and that she is “so in love with [both of them].” See, e.g.,

14 Messages from Sage Humphries to the Buttons, attached as Exhibit 4.
15          49.     Sage’ parents were aware that the Buttons were involved in a consensual sexual
16 relationship with their daughter and initially welcomed that relationship, as they saw it as

17 advantageous to Sage’ dance career and her ability to benefit in a pecuniary way.
18          50.     On at least one occasion, Sage’ father walked in on the Buttons and his daughter
19 engaging in consensual sexual relations at Sage’ parents’ house and said nothing other than to

20 remind Sage that she had a dentist appointment. Later that night, Sage’s entire family went out to
21 dinner with the Buttons to celebrate Mitch’s birthday. See Photograph, Exhibit 5.

22          51.     While Sage’ parents did not seem to be concerned that their daughter was engaged

23 in a consensual relationship with Dusty and Mitchell Button, they behaved in a manner that the
24 Buttons sometimes found alarming. For instance, the Buttons witnessed the following while they

25 knew Sage Humphries:
26                  a.      After Sage Humphries’ mother, Micah Humphries, spent the night at the

27          Buttons’ Boston home, Micah filed a false police report against the Buttons, with the
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 1     preposterous allegation that they had hand grenades, land mines, and illegal firearms in

 2     their home, when they did not. Micah lied to the police, telling them that she was a neighbor

 3     who could see into the Buttons’ apartment. The Buttons learned that the bizarre false report
 4     had been made by Micah because her telephone number was used to place the report.

 5            b.      At age 17, Sage received at least $75,000.00 as compensation for being a
 6     prostitute for Daryl Katz, a well-known billionaire, who was 53 years old at the time. See

 7     Sage Humphries texts with Daryl Katz, attached as Exhibit 6.
 8            c.      Sage announced her plans to elope with Anthony Giovanni Deane, her 48-
 9     year-old boyfriend, when she was 17 years old.

10            d.      Sage dated Chase Finlay, who she knew to be engaged with another woman,
11     while she was still underage.
12            e.      Sage Humphries’ parents forced her to leave a fake “break up” voicemail
13     for the Buttons. However, before Sage sent it, she informed the Buttons that her mother

14     was forcing her to do it and to disregard its contents. See, e.g., Messages from Sage
15     Humphries to the Buttons, attached as Exhibit 7.
16            f.      Sage Humphries’ parents physically removed Sage Humphries from the

17     Buttons’ home against Sage’s will. While doing so, they took and destroyed her driver’s
18     license and cellular phone, according to Sage herself.
19            g.      Later, Sage pleaded with the Buttons to come to her parents’ house to “save”

20     her from them. See Messages from Sage Humphries to the Buttons, attached as Exhibits 7,
21     8, 9, 10, & 11. She told the Buttons that she intended to leave her family, and that her dad

22     was “fucking up [her] money.” See Messages from Sage Humphries to the Buttons,

23     attached as Exhibit 12.
24            h.      Her parents forced Sage into therapy, even though she clearly did not take

25     it seriously or feel that she needed therapy and prodded her into speaking with an attorney
26     to pursue spurious legal claims. See, e.g., Message from Sage Humphries to the Buttons,

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 1          attached as Exhibit 13; Snapchat photo from Sage to the Buttons laughing about being in

 2          therapy, attached as Exhibit 14.

 3                  i.     Sage Humphries bragged about meeting celebrities and fashion industry
 4          people and how they all wanted to “hook up” with her. In her fantasy world, partially

 5          created by her parents, who assisted in sex trafficking her, this was a reasonable belief.
 6          52.     Sage’s parents have a history of threatening Sage Humphries’s romantic partners

 7 and tampering with her significant others.
 8          53.     Eventually, Sage’ parents kidnapped Sage, brought her back to California, and
 9 called in a false police tip, which caused the Buttons’ home to be entered and searched by the

10 police while they were away.2 Sage’s parents took away her phone and her car keys, and would
11 not let her leave work. See, e.g., Message from Sage Humphries to Dusty and Mitchell, attached
12 as Exhibit 15. Sage explained to the Buttons that her parents “know exactly how to crush anything
13 I build up,” and that she is “not a child, and ultimately [she] will do what [she] want[s].” See

14 Message from Sage to the Buttons, attached as Exhibit 16.
15          54.     After Sage Humphries’s parents forced her away from the Buttons, Sage found
16 ways to communicate with the Buttons that her mother could not trace. Specifically, because

17 Sage’s parents had taken away her mobile phone, she would communicate with the Buttons from
18 her younger brothers’ phone and from Sage’s mother’s phone, and would delete the messages after
19 she sent them. Sage had previously bragged about this sort of creative work-around by referring

20 to herself as “#SchemingSage”. See Exhibit 17. Sage sent messages to the Buttons professing her
21 continued love for them and begging them to help her escape her parents’ clutches. See, e.g.,

22

23      2
             Micah Humphries placed a telephone call to the Boston Police Department claiming that
     the Buttons’ apartment contained dangerous weapons, specifically: 50 illegal automatic weapons,
24   landmines, and hand grenades. None of this was true, and Micah knew that this was not true. She
25   told the police that she was the Buttons’ neighbor and could see into their apartment. The Buttons’
     apartment did not contain weapons or firearms of any kind. The only things close to a firearm in
26   the Buttons’ home were hobby airsoft guns, which they used for photography. The Buttons’ dog
     walker let the police into the apartment, and the Buttons later confirmed that the telephone number
27   that had called in the false report matched that of Micah Humphries.
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 1 Exhibit 4. She even wrote and recorded songs about her love for the Buttons during this time. See,

 2 e.g., lyrical transcription of “Don’t Ever Leave Me,” a song written by Sage for Dusty, attached as

 3 Exhibit 18; see also lyrical transcription of “Mr. Ferrari,” a song written by Sage for Mitchell,
 4 attached as Exhibit 19. She sent messages to Mitchell telling him “I’m yours,” and asking him to

 5 “[f]ucking claim me.” See Messages from Sage Humphries to Mitchell, attached as Exhibit 20.
 6          55.    However, it became clear that Sage was actually working with her parents to either

 7 profit from or destroy the reputations of the Buttons.
 8          56.    For some time, the Humphries spread false rumors about the Buttons in an attempt
 9 to ruin their reputations.

10          57.    When the false rumors were unsuccessful in gaining the desired effect, they decided
11 to file this case and to use the press’s coverage of this case to enflame opinion against Mitchell
12 Button and Dusty Button in retaliation for the Buttons’ relationship with Sage Humphries.
13          58.    To that end, Sage has gone on a media blitz, telling her false tales of sexual assault

14 to anyone who will listen.
15          59.    On or about May 27, 2022, Sage appeared on a pre-taped segment of the nationally-
16 broadcast television show Good Morning America (“GMA”).

17          60.    On the GMA segment, Sage Humphries made multiple false and defamatory
18 statements, alleging that Mitchell sexually assaulted her.
19          61.    Specifically, when asked “At what point do you say that the direction turned sexual

20 – it was totally a normal night?”, Sage responded:
21          [Mitchell] suggested that we all watch a movie together. [The Buttons] thought we
            should all have one big group sleepover and bring the mattress out into the living
22          room. I thought again that that was uncomfortable, so we just hung out we watched
            a movie and Dusty had fallen asleep. I was falling asleep and when I was falling
23          asleep that was the first time that [Mitchell] violated me. And, you think that you’re
24          going to know to scream or to get up or to make a loud noise or do anything to stop
            it from happening, but I just froze and my body just tightened and I just waited for
25          it to be over.

26          62.    The events, which flatly accuse Mitchell of sexually assaulting Sage, are untrue.

27 Mitchell never assaulted Sage. The sexual conduct was initiated by Sage.
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 1                                            Juliet Doherty

 2          63.    At one point, Sage Humphries told the Buttons that Juliet Doherty, a dancer the

 3 Buttons were aware of but did not know, was her “rival” and that she did not like Doherty.
 4          64.    Dusty and Doherty each performed at a gala in Panama where Dusty was the guest

 5 of honor. During their time in Panama, Doherty constantly flirted with Dusty, who did not
 6 reciprocate.

 7          65.    After discovering that the Buttons were staying for extra days at the hotel as a guest
 8 of the host of the gala, Doherty told them that she wanted to stay with them in Panama for a few
 9 extra days, which she did.

10          66.    While staying with the Buttons in Panama, Doherty continued her flirtations with
11 Dusty and often walked around while only wearing a towel.
12          67.    At an afterparty at the pool where Doherty claims her false allegations against the
13 Buttons occurred, Doherty propositioned Dusty, who refused. Doherty continued to follow Dusty

14 around the party, making Dusty uncomfortable and causing her to excuse herself to the restroom.
15 Doherty, who was over 21 years old at the time, also continued to consume alcohol and became
16 extremely drunk.

17          68.    At one point, Doherty was in a restroom at the pool area, where she got sick from
18 the alcohol and began throwing up. Dusty made sure that she was okay on multiple occasions.
19 Contrary to Doherty’s allegations, the Buttons simply made sure she was okay. Nothing else

20 occurred that, or any other, night.
21          69.    Following the pool party where Doherty became drunk, Doherty continued to spend

22 time with the Buttons, and even travelled to an island in Panama with them. See Photos Taken

23 After the Pool Party, attached as Exhibit 21.
24          70.    After the Buttons left Panama, they decided not to see, speak with, or communicate

25 with Doherty again in any way. However, Doherty continued to message them on social media.
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 1          71.    Upon information and belief, Doherty maintains a grudge against the Buttons for

 2 rejecting her advances, causing her to join the instant lawsuit and make false claims about what

 3 happened with the Buttons in Panama.
 4           Gina Menichino, Rosemarie DeAngelo, Danielle Gutierrez, and Jane Doe 200

 5          72.    Menichino, DeAngelo, Gutierrez, and Jane Doe 200 appear to have been close
 6 friends since childhood. They grew up dancing together and were instructed by Mitchell.

 7          73.    DeAngelo dated one of Mitchell Button’s best friends when Mitchell was a youth.
 8          74.    Menichino was not as talented as DeAngelo and Gutierrez and grew bitter that she
 9 was not able to spend more time with or receive as much attention from Mitchell.

10          75.    Menichino was additionally very bitter that Mitchell had not chosen her to be his
11 personal assistant. She continued to text and to attempt to communicate with Mitchell after he
12 moved to London to be with, and marry, Dusty.
13          76.    Gutierrez is “the woman scorned” in this matter – she was Mitchell’s girlfriend for

14 about one and one-half years. Mitchell ended their relationship when he moved to London to be
15 with, and marry, Dusty. This resulted in Gutierrez lashing out against and attacking Mitchell. In
16 fact, Mitchell maintains a scar on his stomach from her attack.

17          77.    Jane Doe 200 frequently discussed her attraction to Mitchell during the time he
18 instructed the students at Centerstage, and openly fantasized about the “things [she] wanted to do
19 to [Mitchell].” She had a falling out with Gutierrez after she and Mitchell began dating, but

20 repaired her relationship with DeAngelo, Menichino, Gutierrez after Mitchell and Dusty began
21 their relationship and moved to London together. Jane Doe 200 was bitter about Mitchell’s

22 relationship with Gutierrez and grew even more jaded when Mitchell began dating Dusty.

23          78.    DeAngelo, Menichino, Gutierrez, and Jane Doe 200 became even better friends
24 after Mitchell moved to London for Dusty. Upon information and belief, these four Counter

25 Defendants are participating in this lawsuit to ruin the reputations of the Buttons because of these
26 perceived slights.

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 1                                             Jane Doe 100

 2          79.     Defendants do not know Jane Doe 100. They have never seen, spoken to, taught,

 3 or met Jane Doe 100. In fact, they had never even heard of Jane Doe 100 until she became a
 4 plaintiff in this lawsuit. They have been informed of her actual name and have searched diligently

 5 for any indication at any time ever that they may have encountered her – and are unable to come
 6 up with even a sign that they have met her, much less had any sexual contact with her.

 7          80.     Jane Doe 100’s claims are not only implausible and untrue, but they are also
 8 impossible, as the timeline required for Jane Doe’s allegations to be true is inconsistent with facts
 9 known to the Counterclaimants, including the fact that the building Jane Doe 100 claims to have

10 been assaulted in would not have actually existed at the time of the alleged assault.
11          81.     Upon information and belief, Jane Doe 100 is, or was at one time, a close
12 acquaintance of at least one of the Plaintiffs.
13          82.     Upon information and belief, one of more of the Plaintiffs encouraged Jane Doe

14 100 to levy false claims against Counterclaimants in an effort to lend needed credibility to their
15 frivolous stories.
16          83.     As a result, Jane Doe 100 fabricated an account of assault for the purposes of

17 leveraging the frivolous allegations into a monetary settlement and to harm Counterclaimants’
18 reputation.
19                                             This Lawsuit

20          84.     These Plaintiffs/Counter Defendants only filed this case to ensure that the Buttons
21 were covered extensively by the media and to ruin the reputations that they had built from spending

22 years in the ballet and automotive industries.

23          85.     Most major media publications, including but not limited to, the New York Times,
24 the Washington Post, and the Boston Globe, were aware of this case before the Buttons were aware

25 of it.
26          86.     In order to further smear the Buttons’ reputations, Plaintiffs/Counter Defendants

27 included allegations from anonymous and unnamed third parties. These allegations were cleverly
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 1 designed so that nobody could reasonably refute them – after all, if one is accused by an unnamed,

 2 anonymous party, it brings us into “proving a negative” territory.

 3          87.      The Counter Defendants wrote up a false narrative, with false accusations, slapped
 4 it on pleading paper, and sent it to the press. A mere “press release” might not have the same

 5 litigation privilege as the “creative defamation” in this case. The press, all too happy to smear the
 6 Buttons’ reputation for clicks and kicks can rely on it and claim the fair report privilege.

 7          88.      Given the decision in St. Amant v. Thompson, these lazy stenographers who call
 8 themselves “journalists” are under no legal obligation to seek the truth, and in fact can consciously
 9 avoid the truth if it fits their narrative. This, however, does not make it right.

10                                        CLAIMS FOR RELIEF
11                                   FIRST CLAIM FOR RELIEF
                                           Abuse of Process
12                         (Against Sage Humphries, Menichino, DeAngelo,
13                        Gutierrez, Jane Doe 100, Doherty, and Jane Doe 200)
            89.      Counterclaimants reallege the allegations of the preceding paragraphs as if set forth
14
     fully herein.
15
            90.      Plaintiffs/Counter Defendants Humphries, Doherty, Menichino, DeAngelo, and
16
     Gutierrez filed the initial Complaint in this matter with an ulterior motive and for an improper
17
     purpose.
18
            91.      Specifically, they filed the Complaint (and the subsequent Amended Complaints)
19
     to titillate the media with allegations that the Buttons had been engaging in abhorrent and illegal
20
     behavior with their students and to ruin the Buttons’ reputations with salacious and untrue
21
     allegations.
22
            92.      These Plaintiffs/Counter Defendants ensured that the media had a copy of the
23
     Complaint before the Defendants/Counterclaimants were even aware that they had been sued. This
24
     constitutes a willful act in the use of process not proper in the conduct of the proceeding.
25
            93.      Counterclaimants have been damaged in an amount to be determined at trial and
26
     irreparably harmed by the conduct of these Counter Defendants. Counter Defendants have ruined
27
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 1 their reputations, and Counterclaimants should be compensated for the harm they have caused

 2 through their abuse of the Court’s process.

 3          94.        Counter Defendants’ conduct was willful, and Counterclaimants are entitled to an
 4 award of punitive damages and for recovery of their attorneys’ fees and costs.

 5                               SECOND CLAIM FOR RELIEF
                                         Civil Conspiracy
 6            (Against Sage Humphries, Menichino, DeAngelo, Gutierrez, Jane Doe 100,
 7            Doherty, Jane Doe 200, Michael S. Humphries, and Micah L. Humphries)
            95.        Counterclaimants reallege the allegations of the preceding paragraphs as if set forth
 8
     fully herein.
 9
            96.        Plaintiffs/Counter Defendants Sage Humphries, Menichino, DeAngelo, Gutierrez,
10
     Jane Doe 100, Doherty, and Jane Doe 200, and Third Party Defendants Michael S. Humphries and
11
     Micah L. Humphries agreed to conspire to ruin the Buttons’ reputations through the filing of the
12
     instant lawsuit and by ensuring that the media had copies of the lawsuit before the Buttons even
13
     knew that they had been sued.
14
            97.        The named Counter Defendants and Third Party Defendants agreed to abuse
15
     process by filing a Complaint with this Court with the sole intention of ruining the Buttons’
16
     carefully maintained reputations.
17
            98.        Counterclaimants have been damaged in an amount to be determined at trial and
18
     irreparably harmed by the conduct of these Counter Defendants. Counter Defendants have ruined
19
     their reputations, and Counterclaimants should be compensated for the harm they have caused
20
     through their abuse of the Court’s process.
21
            99.        Counter Defendants’ and Third Party Defendants’ conduct was willful, and
22
     Counterclaimants are entitled to an award of punitive damages and for recovery of their attorneys’
23
     fees and costs.
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 1                                  THIRD CLAIM FOR RELIEF
                                        Equitable Contribution
 2                                 (Against Deane, Katz, and Finlay)
 3          100.   Counterclaimants reallege the allegations of the preceding paragraphs as if set forth
 4 fully herein.

 5          101.   Upon information and belief, Third Party Defendant Deane engaged in sexual
 6 conduct with Plaintiff Humphries while she was a minor.

 7          102.   Upon information and belief, Third Party Defendant Katz engaged in sexual
 8 conduct with Plaintiff Humphries while she was a minor.
 9          103.   Upon information and belief, Third Party Defendant Finlay engaged in sexual
10 conduct with Plaintiff Humphries while she was a minor.
11          104.   In her Complaint against Counterclaimants, Plaintiff Humphries asserts that she
12 suffered damages including deprivation of income and benefits, loss of employment opportunities,
13 severe physical and emotional distress, pain and suffering, mental anguish, humiliation, loss of

14 enjoyment of life, and damage to her reputation and career as a result of the Counterclaimants’
15 alleged actions and seeks an award of compensatory and punitive damages against
16 Counterclaimants.

17          105.   While Counterclaimants deny Sage’s allegations, any actual injuries Sage has
18 sustained as alleged in her Complaint were jointly and/or severally caused by the actions of Third
19 Party Defendants Deane, Katz, and Finlay.

20          106.   Accordingly, Third Party Defendants Deane, Katz, and Finlay are liable to
21 Counterclaimants for equitable contribution in an amount proportionate to the harm they caused

22 Plaintiff Humphries should any damages be awarded against Counterclaimants and in favor of

23 Plaintiff Humphries.
24          107.   Given that these Third Party Defendants committed statutory rape and in at least
25 Katz’ case, sex trafficking, their contribution should be for 100% of any damages that Sage
26 Humphries claims from such acts.

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 1                                  FOURTH CLAIM FOR RELIEF
                                         Defamation Per Se
 2                                      (Against Humphries)
 3          108.   Counterclaimants reallege the allegations of the preceding paragraphs as if set forth
 4 fully herein.

 5          109.   Counterclaim Defendant Sage Humphries published false and defamatory
 6 statements of and concerning Counterclaimant Mitchell Taylor Button as identified herein to third

 7 parties – namely to journalists and television outlets.
 8          110.   Counterclaim Defendant Sage Humphries’s false and defamatory statements were
 9 published to third parties without privilege.

10          111.   The gist of Counterclaim Defendant Sage Humphries’s false and defamatory
11 statements is that Counterclaimant Mitchell Taylor Button sexually assaulted Sage Humphries one
12 night while watching a movie after Dusty Button had fallen asleep.
13          112.   She made these statements to multiple journalists, the identities of whom will be
14 explored in discovery.
15          113.   She for certain made defamatory statements, on camera, on or about May 27, 2022
16 on Good Morning America.

17          114.   She additionally made defamatory statements to Gretchen Voss, a journalist with
18 Boston Magazine. These statements and the Buttons’ response to each of the allegations is in
19 Exhibits 22 & 23.

20          115.   The factual statements alleged to support the defamatory gist of Counterclaim
21 Defendant Sage Humphries’s statements are false and defamatory.

22          116.   Counterclaim Defendant Sage Humphries published the false and defamatory
23 statements with actual malice.
24          117.   Counterclaimant Mitchell Taylor Button is not a public figure.
25
26

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 1          118.   At the time Counterclaim Defendant Sage Humphries published her false

 2 statement, Sage had actual knowledge that her statements were false or had reckless disregard for

 3 their falsity because she had no objectively reasonable basis for believing her statements were true.
 4          119.   In publishing the false and defamatory statements, Counterclaim Defendant Sage

 5 Humphries knowingly and intentionally misrepresented the truth and manufactured false
 6 information out of whole cloth.

 7          120.   Counterclaim Defendant Sage Humphries’s false and defamatory statements
 8 constitute slander per se in that they tend to injure Counterclaimant Mitchell Taylor Button in his
 9 trade, business, or profession, and they accuse Mitchell of serious illegal conduct.

10          121.   The subject of Counterclaim Defendant Sage Humphries’s statements was no more
11 than an issue of public curiosity.
12          122.   Counterclaim Defendant Sage Humphries’s statements were of concern only to her
13 and a small, specific audience.

14          123.   Counterclaim Defendant Sage Humphries’s asserted public interest of informing
15 the public about her false story of sexual assault has only remote proximity to the content of her
16 complained-of statements.

17          124.   Counterclaim Defendant Sage Humphries published her statements solely as part
18 of a private controversy with Counterclaimant Mitchell Taylor Button.
19          125.   In addition to being false, the information Counterclaim Defendant Sage

20 Humphries published was of a private nature and did not become of interest to the public merely
21 by her making the statements to a journalist.

22          126.   Damages to Counterclaimant Mitchell Taylor Button are presumed by law since the

23 defamation is per se.
24          127.   Counterclaim Defendant Sage Humphries’s conduct was willful and intentional.

25          128.   Counterclaimant Mitchell Taylor Button is entitled to an award of punitive damages
26 to punish Counterclaim Defendant Sage Humphries for her unlawful conduct and to deter her from

27 repeating such misconduct in the future.
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 1          129.     As a direct and proximate result of Counterclaim Defendant Sage Humphries’s

 2 actions, Counterclaimant Mitchell Taylor Button suffered negative consequences including loss of

 3 employment opportunities and mental anguish.
 4          130.     As a direct and proximate result of Counterclaim Defendant Sage Humphries’s

 5 actions, Counterclaimant Mitchell Taylor Button has incurred attorneys’ fees and costs for the
 6 protection of his interests.

 7          131.     As a direct and proximate result of Counterclaim Defendant Sage Humphries’s
 8 actions, Counterclaimant Mitchell Taylor Button has been injured in an amount exceeding
 9 $75,000.00.

10                                             JURY DEMAND
11          Defendants/Counterclaimants Mitchell Button and Dusty Button demand a jury on all
12 issues so triable.
13                                           PRAYER FOR RELIEF

14          WHEREFORE, Defendants/Counterclaimants Mitchell Button and Dusty Button hereby
15 pray that this Court enter judgment as follows:
16              A.      Entering judgment for Defendants on all claims made against them in the

17                      Second Amended Complaint;
18              B.      Entering an Order directing that Plaintiffs pay Defendants’ reasonable
19                      attorneys’ fees and costs pursuant to any applicable law;

20              C.      For actual damages in an amount to be proven at trial;
21              D.      For punitive damages in an amount to be proven at trial;

22              E.      For costs of suit;

23              F.      For pre-judgment and post-judgment interest on the foregoing sums;
24              G.      For such other and further relief as the Court deems proper; and

25              H.      That Counter Defendants be jointly and severally liable for any damages award,
26                      where applicable.

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 1     Dated: July 8, 2022.                 Respectfully Submitted,

 2                                          /s/ Marc J. Randazza
                                            Marc J. Randazza, NV Bar No. 12265
 3                                          Ronald D. Green, NV Bar No. 7360
                                            Alex J. Shepard, NV Bar No. 13582
 4                                          RANDAZZA LEGAL GROUP, PLLC
 5                                          2764 Lake Sahara Drive, Suite 109
                                            Las Vegas, Nevada 89117
 6                                          Attorneys for Defendants
 7                                          Mitchell Taylor Button and Dusty Button

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 1                                                                Case No. 2:21-cv-01412-APG-VCF

 2                                            VERIFICATION

 3          I, Mitchell Taylor Button, am a Counterclaimant and Third Party Plaintiff in the above-
 4 captioned matter. I have reviewed the foregoing allegations in this Verified Third Party Complaint

 5 and Counterclaim, and I hereby declare under the penalty of perjury that the foregoing allegations
 6 are true and correct to the best of my knowledge and understanding.

 7          Dated: 07 / 08 / 2022         .
 8
 9                                                Mitchell Taylor Button
10
11
12
                                                                  Case No. 2:21-cv-01412-APG-VCF
13
                                              VERIFICATION
14
            I, Dusty Button, am a Counterclaimant and Third Party Plaintiff in the above-captioned
15
     matter. I have reviewed the foregoing allegations in this Verified Third Party Complaint and
16
     Counterclaim, and I hereby declare under the penalty of perjury that the foregoing allegations are
17
     true and correct to the best of my knowledge and understanding.
18
            Dated: 07 / 08 / 2022         .
19

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                                                  Dusty Button
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 1                                                              Case No. 2:21-cv-01412-APG-VCF

 2                                 CERTIFICATE OF SERVICE

 3         I HEREBY CERTIFY that on July 8, 2022, I electronically filed the foregoing document
 4 with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy of the

 5 foregoing document being served via transmission of Notices of Electronic Filing generated by
 6 CM/ECF.

 7                                              /s/ Marc J. Randazza
 8                                              Marc J. Randazza

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